  Case 22-50174-btf13      Doc 18    Filed 01/17/23 Entered 01/17/23 15:10:13           Desc Main
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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: JACALYN NADINE QUINTERO-MENDOZA

                                                             Case No.: 22-50174-btf-13

                            Debtor


               MOTION TO DISMISS FAILURE TO MAKE PLAN PAYMENTS

    COMES NOW, Richard V. Fink, Chapter 13 Trustee, and moves to dismiss the above-captioned case
for cause pursuant to 11 U.S.C. Section 1307(c) and in support thereof states:

   1. The debtor(s) are delinquent in plan payments in the amount of $4,287.00.

   2. The current monthly plan payment of $1,085.00 is due on the 11th of each month.

   WHEREFORE, the trustee moves the Court for an order of dismissal, without prejudice, of the
above-captioned case for cause pursuant to 11 U.S.C. Section 1307(c).


                                                  Respectfully submitted,
       January 17, 2023
                                                  /s/ Richard V. Fink, Trustee

                                                  Richard V. Fink, Trustee
                                                  2345 Grand Blvd., Ste. 1200
                                                  Kansas City, MO 64108-2663
                                                  (816) 842-1031
   Case 22-50174-btf13              Doc 18      Filed 01/17/23 Entered 01/17/23 15:10:13                            Desc Main
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                                                    NOTICE OF MOTION

Any response to the motion must be filed within twenty -one (21) days of the date of this notice (subject to an extension
pursuant to Federal Rule of Bankruptcy Procedure 9006 ) with the Clerk of the United States Bankruptcy Court .
Documents can be filed electronically at http://ecf .mowb.uscourts.gov. A copy of such response shall be served electronically
by the Court on the Chapter 13 Trustee and all other parties to the case who have registered for electronic filing . Parties not
represented by an attorney may mail a response to the Court at the address below . If a response is timely filed, the Court will
either rule the matter based on the pleadings , or set the matter for a hearing. If a hearing is to be held, notice of such hearing
will be sent to all parties in interest . If no response is filed within twenty-one (21) days (subject to an extension pursuant
to Federal Rule of Bankruptcy Procedure 9006 ), this proceeding will be dismissed by separate Order of the Court .
For information about electronic filing, go to http://www.mow.uscourts.gov. If you have any questions about this document ,
contact your attorney.

Court Address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106


                                                    NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail and a certificate of service will
be filed thereafter:

DEBTOR(S)
WAGONER BANKRUPTCY GROUP (206) - ATTORNEY FOR DEBTOR(S)

                                                                 /s/ Richard V. Fink, Trustee


                                                                                 LL     /Motion - Dismiss - Failure to Make Plan Payments
